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             EXHIBIT A                                     99
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                                            MASTER SERVICES AGREEMENT



   SCHNUCK MARKETS. INC                                                  SCHNUCK MARKETS. INC
   Customer's Legal Name                                                 Doing Business As

   11420 Lackland Road                                       St. Louis            MO                  63146
   Street Address                                             City                State               Zip Code

   CORPORATION
   Specify Whether Customer is (circle one).a Corpomtion, Partnership    Taxpayer ldentitication Number
   Sole Propriatorship, Non-Profit or Other Type of Entity


   Recipient/Title Fhr Noiices                                                              Facsimile Number

   This Master Services Agreement ("MSA") is among the CUSTOMER identified above and FIRST DATA
   MERCHANT SERVICES coRPoRAT1oN ("FDMS") and/or its affiliates (collectively, "PROVlDER") for
   the Services ldentiHed below:

   The intent of this MSA is to provide one set of standardized "Terms and Conditions" to be utilized for
   multiple relationships within the United States between CUSTOMER and PROVIDER. All services
   provided by PROVIDER ("Services") will be identified as individual addenda to this MSA ("Addendum")
   with specific operational specifications and associated pricing, These Addenda will be subject lo the
   Terms and Conditions of this MSA unless the applicable Addendum specifically states that additional
   endlor other terms and conditions apply.

   m consideration oi' the mutual covenants and agreements set forth herein and other good and valid
   consideration, the receipt. and sufficiency of which are hereby acknowledged, PROVIDER and
   CUSTOMER.egree as foliows:

   1. Services. Provider shall provide the Services to Customer hereunder, which Services are more fully
   described in the attached Service Agreements: BAN KCARD ADDENDUM TO THE MASTER
   SERWCES AGREEMENT, whioh is attached hereto and incorporated herein by reference.

   2.    Term. This MSA and any Addenda attached hereto Sha!! be in effect upon signing by of eaclw
   document by all parties and shall remain effective through the initial term of five. (5) years. This MSA and
   any Addenda hereto shall automatically renew for successive one (1) year terms until terminated by the
   parties upon ninety (90) days notice prior to the end of the tnen existing term. This MSA shall be effective
   until all Addenda are terminated. Upon its full execution, this MSA and subsequent Bankcard
   Addendum shall replace and supersede, in its entirety, the Servtcze Agreement between Customer
   and Concord dated March 23., 1987.

   3.   Financial and Qther Information.
        3.1 (a) In the event mat an Event of Default, as defined in the Bankcard Addendum orany other
               Addenda to this MSA, has .occurred or (b) eRovioER, in its discretion believes that an Eventof
               Default may have occurred, CUSTOMER agrees to provide PROVlDER:quarterly financial
               statements of cusrolvlen Within sixty (en) days after the end of each fiscal quarter and annual
               audited financial statements within one=hundred twenty (120) days after the end of each fiscal
               year Such financial statements shall be prepared in accordance with generally accepted
               accounting principles. Notwithstanding any of the foregoing, in the event that financial
               statements are requested as a result of PR@VlDER's belief that an Event of Default may have
               occurred. CUSTOMER may elect to provide credit references, bank references or other
               informationthat it believes will evidence that an Event of Default, indeed, has not occurred. lf.
               upon review of such information, PROVIDER still beiieves that an Event of Default may nave
               occurred, PROVIDER may, once again, request the financial statements of CUSTOMER and, in
               the event that CUSTOMER fails to provide such financial statements, such action shell be
               considered to be a Termination Event, as defined in Section 21 .11 of the Bankcard Addendum
               to this MSA or under any similar sectien of any other Addenda io this Agreement, and
               PROVIDER or SERVICERS (as defined in the Bankcard Addenduinto this MSA) or such other
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             party, as applicable, may take such actions as permissible in such Bankcard Addendum or
             other addenda. Any financial statements that CUSTCJMER provides pursuant to this Section
             3.1 shall be provided in the form of an on~Site financial audit by 1f>nov1oER. Such financial
             audits shallbe conducted during CUSTC>lVlER's normal business hours and in a manner to not
             unreasonably interfere with cusrorvlees day to day operations. The parties shall cooperate
             in determining the actual timing of the financial audits and PROVHDER shall give.ClJSTOMER
             at least fourteen (14) days prior notice of its desire and intent to conduct a financial audit
             pursuant to subsections (a) or fb) above, When performing such audit, PROVIDER mustview
             such financial statements in a secure location at a CUSTOMER facility, PRGVIDER shall not
             copy or note in writing or electronically any terms or figures from such financials statements,
             and shall not take any financial statements from such securelocatlcn. in addition, in the event
             that PROVIDER conducts such on~site financial audit pursuant to sub=seotion (b), and as a
             result of such audit determines that an Event of Default has not in fact occurred, PROVIDER
             shall have no ongoing right to CUSTOMER*s financial statements unless a separate event
             triggers subsections (al or (b) above.

             CUSTOMER authorizes PROVIDER to obtain from third parties..publicly available credit
             information or a Dunn and Bradstreet report relating io CUSTOMER In connection with
             PROVIDER's determination whether to accept this Agreement and PROV|DER's continuing
            evaluation of the financial and credit status of CUSTOMER. Upon request, CUSTOMER shall
            provide to PROVIDER or their representatives reasonable access to CUSTOMER's.facllities
            and records for the purpose of performing any inspection and/or copying of CUSTOMER's
            books and/or records related to the Card transactions contemplated in the Bankcard Addendum
            to this MSA.                                                                 .

        3.2 CUSTOMER will provide PROVIDER with written notice of CUSTOMERS liquidation or
            substantial change in the basic nature of its business, transference or sale of any substantial
             part (25% or more in value) of its total assets, or, if CUSTOMER or its parent is not a
             corporation whose shares are listed on a national securities exchange or on the over-the-
             counter market, change in the control or ownership of CUSTOMER or its parent, within Jorty-
             flve=(.45) days after such liquidation, change transference or sale hasftaken place, CUSTOMER
             will also notify PROVIDER. of any judgment, writ, warrant of attachment, execution or levy
             against any substantial part (25% or more in value) of CUSTOMER's total assets not later than
             three days aner CUSTOMER obtains knowledge of any such judgment, writ, warrant of
             attachment, execution or levy. This section shall not be construed to require notice in the event
             that CUSTOMER's assets or shares are transferred or allocatedamong the Scnnuck Family for
             succession purposes, estate planning purposes or otherwise, and the foregoing events shall
             not be considered a change in control or ownership under this Agreement.

   4.   Indemnification
        4.1 CUSTOMER agrees to indemnify and hold harmless PROVIDER, its affiliates, agents,
            subcontractors, employees directors and officers from and against all Icsses, liabilities,
            damages and expenses (including attorneys' fees and collection costs) resulting from any
            breach of any warranty, covenant, provision of this MSA or any Addenda or any material
            misrepresentation by CUSTOMER under this MSA or any Addenda hereto.
        4.2 PROVIDER agrees to indemnify and hold harmless CUSTOMER, its affiliates, agents,
            subcontractors, employees, directors .and officers .from and against all losses, liatJi|Ities,
            damages and expenses (including attorneys' fees and collection costs) resulting from: (l) any
            breach of any warranty, covenant, provision of this MSA, (li) any Addenda or any material
            misrepresentation by PROVIDER under this MSA or any Addenda hereto, or (lil) any allegation
            that the Services orany other process, deliverable, Equipment, or Software (collectively or
            individually, "Intellectual Property") provided by PROVIDER under this MSA, any Addenda
            hereto (including an Equipment Lease or Purchase Agreement), or CUSTOMER's use thereof,
            infringes or misapproprlates the copyright, patent, trade secret, trademarks or other intellectual
            property right or interest of any person (the "intellectual Property Right") except to the extent
            that .such allegation arises from (Ia) CUSTOMER's use of the intellectual Property other than in
            compliance with this MSA and any documentation regarding the intellectual Property
            ("Documentation") supplied by PROVIDER, (b) CUSTOMERS use of the Intellectual Property in
            combination with other software, equipment, systems, services, processes, components or


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                elements not specifically authorized by PROVIDER as indicated in the Documentation, if the
                infringement or misappropriation would not have occurred but for such use or combination.
         4..3   ln the event of any legal action or claim with any third parties concerning any transaction or
                event ln which a claim for indemnification against a parw may be made under this Agreement or
                any Addenda, the parity to be indemnified hereunder (the "indemnified party") agrees to' (a)
                promptly notify the .party indemnifying hereunder (the "indemnifying party") of the legal action or
                claim, (b) reasonably cooperate with the indemnifying party in the making of claims or defenses,
                and (o) provide information, assist in the resolution of the legal action or claim and make
                available at least one employee or agent who can testify regarding said claim or defenses. The
                indemnifying party shall, upon written notice from the indemnified party, immediately undertake
                ine defense of any said legal action or claim with counsel reasonably satisfactory to the
                indemnified party. in any event the indemnifying party shall be entitled to direct the defense and
                settlement thereof with counsel reasonably satisfactory to the indemnified party, provided,
                however, that the indemnifying party shall not compromise or settle any claim or action affecting
                the indemnified party to the extent that it involves more than the payment of money by the
                indemnifying party hereunder without the indemnified party's written consent,

    5.   . Warranty; Exclusibn of Consequential Damages; LimlfaiiononLiabi.Ilty                      .
         5.1 Warranfy. PROVlDE.R.rqpresents~ and warrants that all:-Services can and shall be provided in a
             good .and workmarilike manner and ih accordance with the standards recognized .ln the
             payment card processing industry.

         5.2 Disclaimer of Warranties, THIS MSA AND ANY ADDENDA IS AN AGREEMENT FDR
             SERVICES AND EXCEPT AS EXPRESSLY PROVIDED IN THIS MSA AND ANY ADDENDA,
             FDMS AND ITS AFFILIATES DISCLAIM ALL REPRESENTATIONS OR WARRANTIES,
             EXPRESSOR IMPLIED, MADE TO CUSTOMER OR ANY OTHER PERSON, INCLUDING
              WITHOUT L|N1|TATIoN, ANY WARRANTIES REGARDING QUALITY, SUITABILITY,
             MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NDNINFRINGEMENT OR
             OTHERWISE (REGARDLESS OF ANY COURSE OF DEALING, CUSTOM OR USAGE oF
             TRADE) OF ANY SERVICES OR ANY GOODS PROVIDED INCIDENTAL TO THE SERVICES
             PROVIDED UNDER THIS AGREEMENT.
         5.3 Exclusion of Consequentlal Damages. NOTWITHSTANDING ANYTHING IN THIS MSA
             AND ANY ADDENDA TO THE CCINTRARY, IN NO EVENT SHALL EITHER PARTY OR ITS
             AFFILIATES BE LIABLE UNDER ANY THEORY OF TORT, CONTRACT, STRICT LIABILITY
             OR oTHER LEGAL THEORY FDR LOST PRDFITS, LOST REVENUES, LOST BUSINESS
             OPPORTUNITIES, EXEMPLARY, PUNITIVE, SPECIAL, INCIDENTAL, INDIRECT OR
             CONSEQUENTIAL DAMAGES, EACH OF WHICH IS HEREBY EXCLUDED BY
             AGREEMENT OF THE PARTIES, REGARDLESS OF WHETHER SUCH DAMAGES WERE
             FORESEEABLE OR WHETHER ANY PARTY OR ANY ENTITY HAS BEEN ADVISED OF
             THE POSSIBILITY OF SUCH DAMAGES.
         5.4 Limitation of Liability. NOTWITHSTANDING ANYTHING IN THIS MSA AND ANY
             ADDENDA TO THE CONTRARY, CUSTOMER, FDMS AND ITS AFFILIATES' cuN|uLATzvE
             3LIABILiTY, IN THE AGGREGATE (INCLUSIVE OF ANY AND ALL CLAIMS MADE BY
             CUSTOMER, FDMS ANDIOR ws AFFILIATES, WHETHER. RELATED on UNLRELATED)
             FOR ALL LOSSES, DLAIMS, SUITS, CONTROVERSIES, BREACHES, QR DAMAGES FOR
             ANY CAUSE WHATSOEVER (INCLUDING, BUT NCT LIMITED TO, THOSE ARISING DUT
             OF OR RELATED TQ THIS MSA AND ANY ADDENDA) AND REGARDLESS OF THE FORM
             OF ACTION OR LEGAL THEORY SHALL NOT EXCEED $500,000. NOTWITHSTANDING
             THE FOREGOING, CUSTGMER, FDMS AND ITS AFFILIATES' CUMULATNE LIABILTY
             FOR ITS BREACH UNDER SECTION 25 (DATA SECURITY) SHALL NUT EXCEED
                $3,000,D00¢ FOR PURPOSES OF CLARIFICATION, EITHER PARTY CUMMULATIVE
                TOTAL UNDER THIS CONTRACT SHALL NOT EXGEED $3,500,000. THIS .5ECT|0N 5.4
                LIMITATION OF LIABILITY SHALL NCT APPLY TO cusvomews LIABILITY FOR
                CHARGEBACKS, SERVICERS' FEES, THIRD PARTY FEES, AND FEES, FINES GR
                PENALITIES BY THE ASSOCIATION OR ANY OTHER CARD OR DEBIT CARD PROVIDED.
                UNDER THIS MSA OR. ANY ADDENDA.

   6. tndependent Contractor; Third Party Beneficiaries. The parties are Independent contractors.
   Neither party shall nave any authority io bind the other., Nothing in this Agreement shall constitute or be

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   construed as the creation of an agency, employment, partnership or joint venturabelween PROVIDER
   and CUSTOMER. This MSA and any Addenda is. entered .into solelyfor the benefit of PROVIDER and
   CUSTOMER and willnot confer any rights. uzlion any. person- not expressly a pan;'.to this MSA and any
   Addenda, including consumers. PROVIDER may -subcontract with otnersto provlde Services, provided
   that PROVIDER shall remain responsiblerffor and :liablefor the performance- of any subcontractor pursuant
   to the terms of this Agreement.

   1. Publicity.. Neither party will initiate publicity .relating .to thisMSA and any Addenda. withcbui the prior
   written approval of the o1her,..e§<cept 'that (i) either party maymake- glisclosures required by .leg'al,..
   acéounling Qr regulatory requirements.

   8.   Excluslvity     During thls MSA term        (i) PROVIDER Wm bathe sole and exclusive provider of
   Services to cusT.0MER; and (ii') CUSTOMER 'wilt not, dirécétly dr indirectly, offer or promote any other
   Services.

   9.  Compliance with Laws, In performing its obligations under this MSA and any Addenda, the parties
   agree to comply with all federal. and slate laws, rules and regulations applicable to lt for the Services
   provided for hereunder..

   10. Assignment. Neither party may assign its rights or delegate its obligations under this MSA_and any
   Addenda without the other's prior written consent, which will not be unreasonably withheld. PROVlDER
   may, however, assign any or all ofits rights or delegate any or all of its obligations lo an affiliate or an
   entity acquiring all or substantially all of the assets of PRCDVIDER. ln the event of .an assignmentby
   CUSTCMER without PROVlDER's prior written consent, the provisions of Section 20.1 of the Bankoard
   Addendum will apply, Notwithstanding anything in this paragraph to the contrary, ln the event that
   CUSTOMERS assets or shares are transferred or allocated among the Sohnuck Family for succession
   purposes, estate planning purposes or otherwise, it shall not be considered an assignment under this
   Agreement

   11. Choice of Law and Venue, This MSA and any Addenda snail be governed by andconstrued in
   accordance with the laws of the State of Missouri without regard to its choice of law provisions. The
   parties will attempt in good faith to resolve any controversy or claim arising out of or relating to this
   Agreement through discussions between the respective PROVIDER and CUSTOMER executives
   responsible for this Agreement. lf these discussions are unsuccessful, the parties agree that any legal
   action or proceeding with respectto this Agreement (including any tort claims) will be brought either in the
   state court of St. Louis County. Missouri or the Federal District Court of the United States of America for
   the Eastern District of Missouri and by execution and delivery of this Agreement, each party hereby
   consents to the jurisdiction of the aforesaid courts solely for the purpose of adjudicating itsrights with
   respect to this Agreement or by document related thereto.

   12. Waiver of Jury Tria|.'ALL. PART|ES IRREVOCABLY wmv; .ANY AND ALL RIGHTS THEY MAY
   HAVE TOA TRIALBY JURY IN ANY JUDICIAL PROCEEDING. INVOLWNG ANY CLAIM RELATING TQ
   OR Amszme UNDER TH\S MSA AND ANY ADDENDA.

   is. Force Majeure. Neither party shall be held responsible for any delays in or failure or suspension of
   service caused, directly or indirectly, by any cause beyond its reasonable control, including mechanical or
   power failure, failure, delay or error in clearing or processing a transaction through the ACH Network or
   Federal Reserve system, lf applicable, the nonperforrnancedeley or error by a third party or in any other
   third party system for any similar cause beyond the reasonable control of such party, including without
   limitation, failures or fluctuations in telecommunications, any outbreak or escalation of hostilities, war,
   riots, terrorism or civil disorders in any country, strikes, labor difficulties, fire, earthquake, flre, flood,
   elements of nature or other acts of God, any act or omission of the other party or any government
   authority.

   .14, Notices Except -as otherwise spe¢lllca||y provided, all notices end otherzcomrnunlcetlons required or
    permllled hereunder (other lhan those involving normal operational .mallersrelatlng lo lhe Services) shall
    be ln writing, shall be sent by mail, courier or facsimile. (falbéimile notices .shall .beconflrmed inwritlng .byai
   facsimile confirmation), iflo. Cuslomerfat theaddress appear-ingon thé first page of lhlsMSA, with afcopy
    to Atlentionr General Counsel at the same address and if lo PROVIDER at the following address: First

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  Data Merchant Sewices, 1307 Walt Whitman Road, Melville, New York 11747, Facsimile. (631) 683~7516,
  Anention: Executive Vice President Qperatlons, with a copy to Attention: General.Counse.l's~Qffice, 620Q
  S. Quebec St., Suite 260-A, Greenwood Village, Colorado 8o111,. and shall be deemed to have been
  given (i) lf sent by mail or courier, when received and (ii) if sent by .facéimile machine, when 'the
  confirmation copy is actually received. Notice given in any other manner shall be effective wtten.aetuallfy
  received.

   15. Headings. The headings contained in this MSA and any Addenda are for convenience of reference
   only and shall not in any way affect the meaning or construction of any provision of this MSA and any
   Addenda.

  16. Severability. Thepanies. intend every provlsionjdf this MSA and any Addenda to be severable. if
  anypart ofthls MSAand any Addend.a- is not enforceable, the remaining provisions shall remain valid- and
  enfefceable, In sunhrcase, the parties will in good faitll modify or substitute. a [provision consistent with
   their original intent. lf any remedy fails- of its essential purpose, then allolher provisions., including the
  limitations on liability and exclusion ofdamages, will .remain fullyeWe¢tlve.

   17. Entire Agreement; Amendment; Waiver, This .MSAend any Addenda hereto constitute the entire
   agreement between the parties with respect to the subject matter thereof, and supersedes any previous
   agreements and understandings. A part;/'s Waiver of a breach of any term or condition of this MSA and
   any Addenda shalt not be deemed a waiver of any subsequent breech of the same or another term or
   condition. Purchase orders, requests for production, pre-printed terms or other CUSTOMER-generated
   documents that PROVIDER mayreceive are for administrative convenience only and do not modify this
   MSA end any Addenda end are e><.pressly .rejected by PROVIDER. No amendment of this Agreement,
   including any Exhibits hereto, shall be effective unless reduced to writing signed by both parties. The
   words "including", "include" and "includes" will each be deemed to be followed by the term "without
   limitetio.n". This MSA and any Addenda maybe executed in counterparts, each of which will be deemed
   an original for all purposes, but all of which when taken together will constitute one agreement.

   The parties hereto have caused this MSA and any Addenda to be executed by their duly authorized
   officers. THIS MSA AND ANY ADDEN=UA,1§ NOT BiND1NG UPON PROVIDER UNTIL SIGNED BY
   PRQWDER.                               4'


   SCHNUCK MARKETS,|NC,
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                                                4/if   i     Finsv DATA MERCHANT SERVICES
                                                             CORPORATION


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   Date                                                       Date      f*3I»-fy




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